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          1032-2016-1146
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                                                                                                                       KIMBERLY A. PRESCOTT
          August 7, 2020                                                                                               SHEILA THOBANI
                                                                                                                       KATRYNA C. RHODES
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                                                                                                                       MEIGHAN M. ANGER
                                                                                                                       ALEXANDER R. CARSON
          Honorable Nancy Joseph                                                                                       JENNIFER J. TATE
          United States District Court - Eastern District of Wisconsin                                                 Assistant City Attorneys
          517 East Wisconsin Avenue, Room 362
          Milwaukee, WI 53202

          Re:      The Dragonwood Conservancy, Inc., et al. v. Felician, et al.
                   Case No. 16-CV-00534

          Dear Judge Joseph:

          Attorney Murphy and I have been discussing dates for trial, looking at November, and deadlines
          for discovery, summary judgment motion, motions in limine, and a date for the final pretrial.

          We have not been able to agree on a date for trial yet, due to scheduling conflicts. Counsel for the
          parties are requesting a brief telephone conference with you on this matter.

          Very truly yours,

          Electronically signed by

          JENNY YUAN
          Assistant City Attorney


          c:       Mark Murphy, Esq.

          JY/cdr


          1032-2016-1146/269820




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